Case 0:16-cv-62431-FAM Document 10 Entered on FLSD Docket 01/24/2017 Page 1 of 1

                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     M iam iDivision

                            CaseNum ber:16-62431-C1V-M O RENO

  KANESHA W ITHERSPOON ,

               Plaintiff,
  VS.

  PROFESSIONAL W ELLN ESS SOLUTIONS
  LLC, d/b/a Resolve USA,          ,

               Defendant.


                       ORDER DISM ISSING CASE W ITH OUT PR EJUDICE

        THIS CAUSE cam ebeforetheCourtupon asuaspontereview oftherecord.

        THE COURT has considered the pertinentportions ofthe record, and the lastrecorded
 dateofvariousproceedings. O n January 6,2017, the Courtissued an Orderto Show Causewhy

 the complaintin this case was notserved in compliance with FederalRule of CivilProcedure

 4(m). Asofthedate ofthisOrder,a return ofservicehasnotbeen docketed ltappearsthat        .


 Plaintifffiled the com plainton October 13, 2016,and serviceofthe sum monsand com plainthas

 notbeen executed asofthedateofthisOrder. Therefore,itis

        ADJUDGED thatthis case isDISM ISSED withoutprejudice forfailure to serve the
 complaintin compliancewith FederalRuleofCivilProcedure4(m) The Clerk ofCourtshall
                                                                         .



 m ark thiscase asCLOSED and DEN Y al1pendingm otionsasm oot
                                                                         .Z %W
        DONE AND ORDERED inChambersatMiami,Florida,this                          of                         ,2014.
                                                                         ..M

                                                                   '
                                                                               ...rr.-::',....-,.y,,.<s+
                                                       ..e'   .... -.-             .'''
                                                      .                                                ..


                                          FED ERI   .M O REN O '
                                          UNITED STATES DISTRICT JUDGE
 Copiesfurnished to:
 Counselofrecord
